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                                             September 5, 2017

  Filed Under Seal

  The Honorable Brian M. Cogan
  United States District Judge
  United States District Court
    for the Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11201


                 Re:     United States v. Joaquín Archivaldo Guzmán Loera
                         Case No. 09-CR-466(S-4) (BMC)


  Dear Judge Cogan:

                  I have entered my appearance on behalf of Mr. Guzmán and submit this letter to
  notify the Court of a potential conflict of interest of which I have made Mr. Guzmán aware. Out
  of an abundance of caution, I am requesting to file this letter under seal. However, I do not
  object to its unsealing should the Court determine that it is appropriate. I respectfully request
  that the Court hold a hearing pursuant to United States v. Curcio, 680 F.2d 881 (2nd Cir. 1982)
  where the Court can determine whether there exists a potential conflict of interest, whether it is
  waivable and whether Mr. Guzmán chooses to make an informed and knowing waiver of the
  potential conflict.

                In late 2015, a Mexican attorney holding himself out as counsel for a then co-
  defendant contacted me about separately representing the co-defendant and a relative. In late
  March 2016, the Mexican attorney provided me with retainer agreements purportedly signed by
  the co-defendant and the relative.

                  As part of my representation, I facilitated one brief meeting between the Mexican
  attorney and three of the prosecutors handling the co-defendant’s case during which the Mexican
  attorney posed several hypothetical questions to the prosecutors that related to the co-defendant
  and the relative. For several months after that meeting, my discussions with the Mexican
  attorney and the government concerned issues specifically pertaining to the relative, who is not
  charged in this case. Eventually, due to reasons concerning the relative’s representation, the
  Mexican attorney informed me that the co-defendant and the relative no longer required my
  services.




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                  I never personally met with, spoke to nor otherwise discussed any matters with
  the co-defendant or the relative. Neither did I communicate directly with them in any other way.
  I did not obtain any information that may be at issue in this case directly or indirectly from the
  co-defendant or the relative. All my communications were through the Mexican lawyer. Neither
  the co-defendant, the relative nor any third party paid me for any services rendered and I never
  entered an appearance here on the co-defendant’s behalf, or anywhere else on behalf of the
  relative. Finally, the co-defendant and his relative are not in the United States.

                   I have informed Mr. Guzmán of the potential conflict.1

                Considering the aforementioned, I respectfully request that the Court re-appoint
  Curcio counsel to advise Mr. Guzmán concerning this potential conflict and to inform the Court
  whether Mr. Guzmán is prepared to waive it.



                                                     Respectfully submitted,

                                                     BALAREZO LAW



                                             By:     ____________________________________
                                                     A. Eduardo Balarezo, Esq.

                                                     Counsel for Joaquín Archivaldo Guzmán Loera



  cc:     The Parties (via ECF)




  1
   The government and the Federal Defenders, who currently also represent Mr. Guzmán, are aware of the potential
  conflict and of the identity of the co-defendant and the relative.
